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  8                         UNITED STATES DISTRICT COURT
  9                       CENTRAL DISTRICT OF CALIFORNIA
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 11   DIGITECH IMAGE TECHNOLOGIES,                 Case No. 8:12-cv-1688-ODW(MRWx)
      LLC,
 12                                                ORDER CONTINUING
                         Plaintiff,                SCHEDULING CONFERENCE AND
 13         v.                                     MOTION TO STAY HEARING
                                                   DATE [23]
 14   NEWEGG INC. et al.,
 15                      Defendants.
 16
 17         The scheduling conference in this matter, currently for January 14, 2012, is
 18   hereby CONTINUED to April 1, 2013, at 1:30 p.m. The parties’ joint Rule 26(f)
 19   conference is therefore due no later than March 18, 2013. Defendants’ Motion to Stay
 20   (ECF No. 23), also currently set for January 14, 2013, is likewise CONTINUED to
 21   April 1, 2013, to coincide with the scheduling conference date.
 22         The Court intends to consolidate all of the Digitech matters pending before this
 23   Court for discovery purposes only. Accordingly, the parties shall be prepared at the
 24   April 1 scheduling conference to propose and discuss case management options to
 25   streamline discovery, including Markman. All parties shall additionally be prepared
 26   to discuss (1) the various retailer Defendants’ pending motions to stay and (2) any
 27   anticipated motions to transfer venue. To facilitate this discussion, the parties are
 28   urged to collaborate in preparation for the scheduling conference.
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  1         Finally, due to space limitations, the Court orders that only the single lead trial
  2   counsel in this matter appear for the scheduling conference.
  3         IT IS SO ORDERED.
  4         December 27, 2012
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  6                                ____________________________________
  7                                         OTIS D. WRIGHT, II
                                    UNITED STATES DISTRICT JUDGE
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